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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                   NO. 4:06CR00211 JLH

JULIA FORD FREEMAN a/k/a JUDY FORD;
ROBERT J. COLEE; LYDIA D. PRISOCK;
CAROL A. SPACKMAN; and
RANDALL JARVIS                                                                     DEFENDANTS


                                             ORDER

       The United States has filed a motion for a continuance of the trial scheduled for April 13,

2009. If any defendant objects to the motion for continuance, the objection must be filed on or

before March 30, 2009. If no objection is filed on or before March 30, 2009, the Court will assume

that no defendant objects and that the defendants are willing to waive their rights under the Speedy

Trial Act.

       IT IS SO ORDERED this 19th day of March, 2009.




                                                     ___________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
